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Exhibit G

Compilation of Plaintiff, Sonya Larson’s Letters
from the five versions of The Kindest

Letter from The Kindest — Brilliance Version
Letter from The Kindest — Audible Version
Letter from The Kindest — American Short Fiction Version
Letter from The Kindest — Version Submitted to the
Boston Book Festival
Letter from The Kindest - FINAL Boston Book Festival Version

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Letter from The Kindast - Brilliance Version

Dear Recipient,

My name is Rose Rothario. I’m a thirty-eight-year-old white female, and I live in
Greater Boston.

In 2015 I saw my first documentary about living kidney donation, and from that
point forward I was constantly reminded of the urgent need for kidneys in our country.
Equipped with this new awareness, I set forth on a journey to make a maximum impact

on another’s life with only minimal risk to myself.

J'm grateful io the entire transplant team at MGH, who gave such attentive care

from my very first blood test to the date of our paired exchange. My own childhood was

marked by trauma and abuse; I wasn’t given an opportunity to form secure attachments
with my family of origin. But in adulthood that experience provided a strong sense of
empathy. While others might desire to give to a family member or friend, to me the
suffering of strangers is just as real.

A few things about me: I like sailing, camping, jewelry, and cats.

As I prepared to make this gift, what sustained me was the knowledge that my

recipient would be getting a second chance at life. I channeled my energies into imagining

and celebrating YOU.

My gift, you must know, trails no strings. You deserve all that life has to offer,
simply because you exist.

That said, I would love to know more about you. Perhaps we could meet. But I
accept any level of involvement, even if it is none.
Warmly,

Rose M. Rothario

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Letter From The Kindest -— Audible Version

Dear Recipient,

My name is Rose Rothario. I’m a thirty-eight-year-old white female, and I live in
Greater Boston.

In 2016 I watched a documentary about altruistic kidney donation, and as the
credits rolled I felt wholly dismayed by the daily experiences of those in need. Equipped
with this new awareness, I set forth on a journey to offer a great gifi, to do my part in

bettering a fellow human’s life.

I’m grateful to the entire transplant team at MGH, who tightly held my hand from
my very first blood test to the date of our paired exchange. I myself know something of
suffering, but from those experiences I’ve learned to build perseverance, to build courage.
And I've also learned to appreciate the hardship that others are going through, no matter
how foreign. Whatever you've experienced, remember that you are never alone.

A few things about me: I like sailing, camping, jewelry, and cats.

As I prepared to make this donation, I drew strength from knowing that my
recipient would be geiting a second chance at life. I channeled my energies into imagining
and celebrating YOU.

Now I smile at the thought that you are enjoying renewed health. You deserve all
that life has to offer, simply becausé you exist.
Hf you're willing and able, I would love to know more about you. Perhaps we

could meet. But if you prefer not to, I accept that outcome as well.

Warmly,

Rose M. Rothario

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Letter from The Kindest - American Short Fiction Version

Dear Recipient,

My name is Rose Rothario. I’m a thirty-eight-year-old white female, and
I live in Greater Boston.

In 2017I saw a documentary about altruistic kidney donation, and as
the credits rolled I felt wholly dismayed by the daily experiences of those
in need, Equipped with this new awareness, I set forth on a journey to
offer a great gift, to do my part in bettering a fellow human’s life.

I shook open the letter. Six whole daisy pages. Stuff about her
surgery, the prep, the PT. It went on.

I’m so grateful to the MGH transplant team, who held my hand from
my very first blood test to the date of our paired exchange. I myself know
something of suffering, but from those experiences I’ve acquired both
courage and perseverance. I’ve also learned to appreciate the hardship
that others are going through, no matter how foreign. Whatever you’ve

endured, remember that you are never alone.

A few things about me: I like sailing, camping, jewelry, and cats.

As I prepared to make this donation, I drew strength from knowing
that my recipient would get a second chance at life. I withstood the pain
by imagining and rejoicing in YOU.

Now I smile at the thought that you are enjoying renewed health. You
deserve all that life has to offer, simply because you exist.

If you are willing, I would love to know more about you. Perhaps we
could meet. But if you prefer not to, I accept that reaction as well.

Warmly,
Rose M. Rothario

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Letter from The Kindest - Version submitted to the
Boston Book Festival

Dear Recipient,

My name is Rose Rothario. I’m a thirty-eight-year-old white female, and I live in

Greater Boston.
In 2016 I watched a documentary about altruistic kidney donation, and as the

credits rolled I felt wholly dismayed by the daily experiences of those in need. Equipped

with this new awareness, I set forth on a journey to offer a great gift, to do my part in

bettering a fellow human’s life.

I'm grateful to the entire transplant team at MGH, who tightly held my hand from

my very first blood test to the date of our paired exchange. I myself know something of

suffering, but from those experiences I’ve learned to build perseverance, to build courage.
And I’ve also learned to appreciate the hardship that others are going through, no matter
how foreign. Whatever you've experienced, remember that you are never alone.

A few things about me. I like sailing, camping, jewelry, and cats.

As I prepared to make this donation, I drew strength from knowing that my
recipient would be getting a second chance at life. I channeled my energies into imagining

and celebrating YOU,

Now I smile at the thought that you are enjoying renewed health. You deserve all
that life has to offer, simply because you exist.
Hf you're willing and able, Iwould love to know more about you, Perhaps we
could meet. But if you prefer nat to, I accept that outcome as well.
Warmly,

Rose M. Rotharia

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Letter from The Kindest —- FINAL Boston Book
Festival Version

Dear Friend,

By now you are likely wondering just who this person-- your kidney donor-- could
possibly be. Today [reach out to share a warm hello, It is me.

Lam a thirty-eight-year-old white female, and I live in Newton, Massachusetts

(born and raised). Last year, while lost in a difficult period, I saw a documentary about
altruistic kidney donation, As the credits rolled, I felt shocked by the daily hardship of so
many people in need. Equipped with this new awareness, I set forth on a journey to offer
a great gifi, to do my part in bettering a fellow human’s life.

I’m so grateful to the MGH transplant team, who held my hand from my very first
blood test. I myself know something of suffering, but from those experiences I’ve learned
courage and perseverance. Whatever you’ve endured, remember that you are never alone.

A few things about me: I like sailing, camping, jewelry, and cats.

My journey to you has entailed immense time, money, and yes-- pain. But
throughout it all I found a profound sense of purpose, knowing that your life depended on
my gift

Now I smile at the thought that you are enjoying renewed health. I hope-- with all
my heart-- that you feel emboldened with a new sense of hope.

Naturally, Tam curious about your healing, and perspective on our shared
experience, Perhaps we could meet. If you'd rather not, that’s fine, but I'll leave my

number here regardless. Consider it token of my affection-- a lifeline, should you ever

need reminding that you are loved.

Kindly,

Rose M. Rothario

